Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 08-20574-CR-LENARD/TURNOFF


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  RALPH MERRILL,

        Defendant.
  ________________________________/

   ORDER ADOPTING REPORT AND RECOMMENDATION OF MAGISTRATE
    JUDGE (D.E. 512) AND DENYING DEFENDANT’S MOTION TO SUPPRESS
                                (D.E. 412)

         THIS CAUSE is before the Court on the Report and Recommendation of Magistrate

  Judge William C. Turnoff (“Report,” D.E. 512), issued on December 30, 2009,

  recommending denial of Defendant Ralph Merrill’s (“Merrill”) Motion to Suppress

  statements given to the Government on May 7-8, 2008, (“Motion,” D.E. 412). Merrill filed

  objections to the Report (“Objections,” D.E. 547), on January 19, 2010, to which the

  Government filed its response (“Response,” D.E. 570), on January 26, 2010. Based upon a

  de novo review of the Report, Objections, Response, related pleadings, and the record, the

  Court finds as follows.
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 2 of 12




         I.      Background 1

         In his Motion, Merrill moves to suppress statements made during an interview with

  the Government on May 7, 2008, and during his grand jury appearance on May 8, 2008. The

  interview took place at the United States Attorney’s Office in Miami, Florida, pursuant to a

  federal grand jury subpoena relating to the investigation of Defendant AEY, Inc. (“AEY”).

  Merrill argues that he was deceived into traveling to Miami for an interview because he was

  under the impression that he was a fact witness in the Government’s case against AEY, and

  not a target of the investigation. Merrill argues the Government used its grand jury subpoena

  power in order to compel his attendance at the interview and further its investigation. Merrill

  also asserts that his statements were made in response to promises of leniency and were in

  the context of plea negotiations.

                 A.     Magistrate Judge’s Report

         After conducting an evidentiary hearing on December 9, 2009, the Magistrate Judge

  issued his Report, recommending that Merrill’s Motion be denied.               Specifically, the

  Magistrate Judge found that: (1) Merrill’s statements were freely and voluntarily given; (2)

  no plea negotiations took place during the interview; and (3) the Government did not abuse

  its subpoena power in order to further its investigation.

         First, the Report concludes that, under the totality of circumstances, the evidence

  demonstrates that Merrill’s admissions preceded any discussions of leniency. (Report at 7.)

         1
                   A more detailed discussion of the May 2008 interview, and the events leading up
  to it, is contained in the Report. (See Report at 2-5.)

                                                  2
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 3 of 12




  Crediting the testimony of the agents present at the interview, the Magistrate Judge also

  found that any discussions of leniency were in “general” terms. Moreover, the Magistrate

  Judge found that, after Merrill admitted his involvement with the two e-mails discussing the

  possibility of leveraging the origin of the ammunition in negotiations and methods for

  cleaning the wooden crates,2 the agents immediately advised him that the interview had

  reached “another level,” and advised him he did not have to continue. Prior to breaking for

  lunch, the Government also advised Merrill of his constitutional rights and again informed

  him that he was free to leave. (Id. at 7.) The Magistrate Judge also relied upon testimony

  that the door to the interview room remained unlocked, Merrill was never instructed that he

  could not leave, and Merrill never expressed a desire to terminate the interview. (Id. at 7-8.)

  Examining the characteristics of the defendant, the Magistrate Judge further found Merrill

  to be a “sophisticated businessman, who has retained counsel several times, and who has

  dealt with the judicial system in both civil and criminal capacities on numerous occasions.”

  (Id. at 8.)

          Second, the Report concludes that no plea negotiations took place during the

  interview. (Id. at 9.) Specifically, the Magistrate Judge credited the testimony of Special

  Agent Luis Perez (“Perez”) that all discussions regarding the judicial process were general

  in nature and rejected Merrill’s testimony that Assistant United States Attorney James

          2
                 The first e-mail is a April 25, 2007, e-mail from Merrill to Efraim Diveroli and
  David Packouz, referencing attached photographs showing methods for “cleaning wooden
  crates.” The second e-mail is a May 16, 2007, e-mail from Merrill regarding using the origin of
  the ammunition as leverage to negotiate a lower price.

                                                 3
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 4 of 12




  Koukios (“Koukios”) promised Merrill any future charges would be reduced to a

  misdemeanor with probation. (Id.) The Magistrate Judge noted that, at the time of the

  interview, no charges were pending against Merrill and the plea agreement that Merrill later

  executed (and rescinded) contained a felony charge. (Id.) Examining the totality of the

  circumstances and relying upon the testimony of the witnesses at the evidentiary hearing, the

  Magistrate Judge concluded that, assuming Merrill possessed a subjective expectation that

  he was engaged in plea negotiations, such expectation was objectively unreasonable. (Id. at

  10.)

         Finally, the Report concludes that there is no evidence that the Government

  improperly used its subpoena power to improperly induce Merrill to travel to Miami for an

  interview. (Id. at 11.) The Magistrate Judge found that no charges were pending against

  Merrill at the time of his interview and once he was considered a target, the Government

  stopped the interrogation and advised him of his rights. (Id.) Furthermore, the Magistrate

  Judge determined that the Government acted within its “considerable leeway” in having

  Merrill arrive a day early to prepare him for his grand jury appearance. (Id.)

                B.     Merrill’s Objections

         Merrill objects to the Report’s findings and conclusions--arguing, inter alia, the

  Magistrate Judge ignored specific Government promises made to solicit his cooperation,

  relied on incredible testimony that the Government did not consider Merrill a target until

  midway through the interview, ignored evidence in the record that the discussions were in



                                               4
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 5 of 12




  the context of plea negotiations, and fails to employ the proper legal analysis in determining

  whether plea negotiations occurred. (Objections at 2.)

         First, Merrill argues the Magistrate Judge erred in its analysis of whether the

  statements were voluntary. According to Merrill, the evidence in the record indicates that

  his admissions, with the exception of his admission to authoring the two e-mails, came after

  he discussed cooperating and the prospect of leniency with Perez and Koukios. (Id. at 5.)

  Merrill also argues that the Magistrate Judge erred by characterizing him as a “sophisticated

  businessman,” as his experience with the judicial system is limited to hiring counsel in

  relation to a “controversy over discharging firearms on Federal land,” hiring counsel on

  behalf of an employee, and providing law enforcement with information about a public

  corruption case. (Id. at 5-6.)

         Second, Merrill argues the Magistrate Judge erred in its analysis of whether the

  Government abused its subpoena power, as the testimony demonstrates the Government

  knew of the two-emails several days before Merrill’s scheduled grand jury appearance. (Id.

  at 7.) Merrill contends the Government had to have considered Merrill a target given the

  nature of the allegations in the case and the content of the two e-mails.3 (Id.)


         3
                  The Report notes that “Merrill does not argue that failure to advise him of target
  status requires suppression of his admissions.” (Report at 11.) To the extent Merrill raises this
  issue in his Objections, (Objections at 1 (alleging Government “was well aware that Merrill was
  indeed a target and not a mere fact witness. Merrill’s target status was concealed from him,
  however, until he was shown the e-mails”).), it is unavailing as target warnings are “not
  constitutionally mandated” and even assuming the Government violated its own internal policy
  suppression would be unwarranted here. See United States v. Gillespie, 974 F.2d 796, 800 (7th
  Cir. 1992); see e.g., United States v. Myers, 123 F.3d 350, 355-56 (6th Cir. 1997).

                                                   5
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 6 of 12




         Finally, Merrill argues the Magistrate Judge erred in its analysis of whether the

  interview statements took place in the context of plea negotiations. Merrill principally relies

  on Perez’s testimony that the Government discussed “leniency” and “cooperation” with

  Merrill and the possibility of a Government recommendation of a downward departure at

  sentencing. (Id. at 10-11.) Merrill argues that the Magistrate Judge cited the proper legal

  framework set forth in United States v. Robertson, 582 F.2d 1356, 1366 (5th Cir. 1978),4 but

  failed to apply the first prong, or examine whether Merrill exhibited a subjective expectation

  to negotiate a plea. (Id. at 11-12.) Merrill believes he exhibited a subject expectation to

  negotiate a plea and such expectation was reasonable.

                 C.     Government’s Response

         In its Response, the Government first argues the Magistrate Judge correctly found the

  federal agents’ testimony more credible than that of the defendant.              Specifically, the

  Government cites to the Magistrate Judge’s finding, “that the testimony of Special Agents

  Perez and Vazquez was more credible than the testimony of Defendant Merrill.” (Response

  at 5 (citing Report at 10).) The Government argues these credibility findings are supported

  by the record, namely that Merrill claims he was promised a “Class A misdemeanor with

  probation,” but could not recall what Class A misdemeanor was offered, Merrill later

  accepted (then rescinded) a plea offer to a felony, and the fact that Merrill claims the



         4
                 The Eleventh Circuit in Bonner v. City of Prichard, 661 F.2d 1206, 1207 (1981)
  (en banc), adopted as binding precedent all decisions of the former Fifth Circuit rendered prior to
  October 1, 1981.

                                                   6
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 7 of 12




  Government was both offering a “Class A misdemeanor with probation” and a downward

  departure recommendation from probation. (Id.)

            The Government also argues that the Magistrate Judge’s findings as to the

  voluntariness of his statements and the absence of plea negotiations are supported by

  evidence in the record that the Government was not in a position to negotiate a plea and took

  steps to advise Merrill once matters “reached a new level.” (Id. at 3.) The Government

  argues the record supports the Magistrate Judge’s findings in that, at the time of the

  interview, the Government had not yet charged Merrill with any crimes and was unsure of

  his role in the investigation. (Id. at 5-6.) As such, the Government was not in a position to

  negotiate a plea. The Government also argues Merrill’s retention and consultation with

  counsel in Utah regarding the grand jury subpoenas, unbeknownst to the Government at the

  time, supports the conclusion that his statements were voluntary. (Id. at 3.)

            Finally, the Government believes the Magistrate Judge correctly determined that there

  was no abuse of its subpoena power to further its investigation. The Government argues that

  this finding is supported by evidence in the record, including the fact that Merrill was called

  to testify as a records custodian for his company Vector Arms, that the beginning of the May

  7th interview and the entirety of his grand jury appearance focused on the financial

  documents, and that once his concealment of authoring the two e-mails raised the

  Government’s suspicion, AUSA Koukios stopped the interview and advised Merrill of his

  rights.



                                                  7
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 8 of 12




         II.    Standard of Review

         Upon receipt of the Report and the objections of the parties, the Court must now

  “make a de novo determination of those portions of the report or specified proposed findings

  or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C). The Court

  “may accept, reject, or modify, in whole or in part, the findings or recommendations made

  by the magistrate judge.” Id. In making its determination, the district court is given

  discretion and “is generally free to employ the magistrate judge’s findings to the extent that

  it sees fit.” Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230, 1245 (11th Cir. 2007).

          In considering the Report and the objections, the district court may adopt those

  findings to which there are no objections, make a de novo determination of those findings

  to which the parties object, and supplement the Report with any independent findings made

  by the court. See LoConte v. Dugger, 847 F.2d 745, 749-50 (11th Cir. 1988), cert denied,

  488 U.S. 958 (1988) (describing three categories of findings for appellate review: (1) those

  findings accepted and adopted by the district court without objection by either party; (2)

  those findings of fact to which the parties object and the district court must make a de novo

  determination of; and (3) the independent findings of fact made by the district court). As the

  Eleventh Circuit explained in LoConte, “[w]henever any party files a timely and specific

  objection to a finding of fact by a magistrate, the district court has an obligation to conduct

  a de novo review of the record with respect to that factual issue. As the use of the phrase de

  novo implies, the district court’s consideration of the factual issue must be independent and



                                                8
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 9 of 12




  based upon the record before the court.” Id. at 750 (internal citation omitted). To the extent

  the magistrate judge’s findings turn on evaluations of credibility or “demeanor-intensive fact

  finding,” those findings should not be rejected or overruled lightly as “the raw transcript of

  the hearing” does not capture the “nuances of the testimony or the demeanor of the

  witnesses.” Amlong, 500 F.3d at 1248-50. Thus, the Court adopts those findings of the

  Magistrate Judge to which neither Defendant nor the Government filed objections and

  proceeds to consider de novo those findings of fact for which there are objections.

         III.   Discussion

                A.     Voluntariness

         In determining the voluntariness of an admission, the Court must assess “the totality

  of all the surrounding circumstances -- both the characteristics of the accused and the details

  of the interrogation.” Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973). A confession

  must be the product of a defendant’s “free and rational” choice. Harris v. Dugger, 874 F.2d

  756, 761 (11th Cir. 1989); Leon v. Wainwright, 734 F.2d 770, 772 (11th Cir. 1984).

         The Court adopts the findings of the Magistrate Judge that Merrill’s statements were

  voluntarily made and not the product of promises of leniency. First, the Magistrate Judge,

  after having the opportunity to view the demeanor of the witnesses, believed the agents’

  testimony that any discussion of leniency was “general” in nature. Second, the Magistrate

  Judge did not ignore any evidence of specific Government promises of leniency, but rather

  found Merrill’s story incredible and contradicted by other evidence. The Magistrate Judge



                                                9
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 10 of 12




   also properly considered Merrill’s sophistication as a businessman with experience dealing

   with attorneys and the criminal justice system. In fact, Merrill had himself retained counsel

   to discuss the grand jury subpoenas prior to traveling to Miami for his grand jury appearance.

   Nevertheless, once at the interview and upon being advised that matters “had reached a new

   level,” Merrill still did not seek to invoke the protection of his retained counsel. Merrill also

   did not leave despite the door being unlocked and being told that he was free to leave at any

   point. Under the totality of the circumstances, the Magistrate Judge correctly determined that

   Merrill’s statements were freely and voluntarily given, and not the product of any promises

   of leniency.

                  B.     Plea Negotiations

          In examining whether a defendant’s statements should be characterized as part of a

   plea negotiation, the Court must examine “whether the accused exhibited an actual subjective

   expectation to negotiate a plea at the time of the discussion” and “whether the accused’s

   expectation was reasonable given the totality of the objective circumstances.” Robertson,

   582 F.2d at 1366. The Court must also again consider the “totality of the circumstances.”

   Id.

          The Court adopts the findings of the Magistrate Judge that Merrill’s statements were

   not made in the context of plea negotiations with the Government. First, the Court must

   afford ample weight to the credibility determinations of the Magistrate Judge.              The

   Magistrate Judge had the opportunity to hear testimony from Merrill, as well as Agents Perez



                                                  10
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 11 of 12




   and Vazquez, and explicitly determined the agents’ testimony to be more credible as to

   whether any promises of leniency were made. The Magistrate Judge determined, based on

   the testimony of Agent Perez, that all discussions regarding the judicial process were general

   in nature and that Merrill’s questions were answered by AUSA Koukios’s general description

   of cooperating versus going to trial.

          Contrary to Merrill’s Objections, the Report did not ignore the first prong of the

   Robertson analysis, but rather found that assuming Merrill exhibited an actual subjective

   expectation to negotiate a plea, there was no way he could demonstrate that such an

   expectation was reasonable. The Magistrate Judge’s decision is supported by evidence in the

   record including: (1) at the time of the interview, no charges were pending against him; (2)

   he was free to end the interview or consult with his retained attorney at any time, but chose

   not to do so; and (3) Merrill later accepted a plea offer to a felony charge. (Report at 9-10.)

   Moreover, the Magistrate Judge did not err in finding the second prong of the Robertson test

   so lacking that he assumed the viability of the first prong for purposes of the analysis.

                 C.     Abuse of Subpoena Power

          The Government may not use the grand jury subpoena power to further its own

   investigative process.   United States v. Elliott, 849 F.2d 554, 557 (11th Cir. 1988).

   Nevertheless, the Government is allowed “considerable leeway” in conducting its grand jury

   investigation. Id. at 556.

          The Court adopts the findings of the Magistrate Judge. No evidence exists that the



                                                 11
Case 1:08-cr-20574-JAL Document 600 Entered on FLSD Docket 02/09/2010 Page 12 of 12




   Government improperly used its subpoena power to interview Merrill. The Government

   subpoenaed Merrill to testify as a records custodian regarding Vector Arms and his own

   financial records relating to AEY. Merrill consulted with an attorney regarding the grand

   jury subpoenas and decided to travel to Miami without his attorney. Additionally, the

   majority of the time spent with the Government was spent reviewing the financial documents

   produced in response to the subpoenas. The fact that the Government knew of the existence

   of the two e-mails several days before Merrill’s scheduled grand jury appearance does not

   indicate the Government sought to compel his interview attendance despite the fact that he

   was a target. The agents testified that it was not until Merrill initially denied authoring the

   two e-mails, and subsequently admitted to authoring them, that the Government considered

   Merrill a target of the investigation. It was at this point that Merrill was advised of his rights

   and he decided to continue the interview. The record supports the Magistrate Judge’s finding

   that the Government’s subpoena power was not abused in order to further the investigation.

   Accordingly, it is ORDERED AND ADJUDGED that, consistent with this Order, the

   Report and Recommendation of the Magistrate Judge (D.E. 512) is ADOPTED and Merrill’s

   Motion to Suppress (D.E. 412) is DENIED.

           DONE AND ORDERED in Chambers at Miami, Florida this 9th day of February,

   2010.

                                                       ___________________________________
                                                       JOAN A. LENARD
                                                       UNITED STATES DISTRICT JUDGE


                                                  12
